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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                   Filed: October 7, 2015

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AMANDA LACROIX,                           *                 UNPUBLISHED
                                          *
            Petitioner,                   *                 No. 13-359V
                                          *
 v.                                       *                 Chief Special Master Dorsey
                                          *
SECRETARY OF HEALTH                       *                 Attorneys’ Fees and Costs;
AND HUMAN SERVICES,                       *                 Reasonable Amount Requested to
                                          *                 which Respondent does Not Object.
            Respondent.                   *
                                          *
*******************************************

Michael A. Baseluos, San Antonio, TX, for petitioner.
Glenn A. MacLeod, U.S. Department of Justice, Washington, D.C., for respondent.

                      ATTORNEYS’ FEES AND COSTS DECISION1

       On May 28, 2013, Amanda Lacroix (“petitioner”) filed a petition for compensation under
the National Vaccine Injury Compensation Program (“Vaccine Program”)2 alleging that she
received a meningococcal vaccination on December 3, 2011, and thereafter suffered from
transverse myelitis with resulting neurologic injuries. On July 22, 2015, a decision awarding
compensation to petitioner based on the parties’ stipulation was entered.


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). As provided by Vaccine Rule 18(b), each party has 14 days within which
to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b). Otherwise, the entire decision will be available to the
public. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (“Vaccine Act” or “Act”). All citations in this decision to
individual sections of the Act are to 42 U.S.C.A. § 300aa.

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         On October 5, 2015, the parties filed a Stipulation of Fact Concerning Attorneys’ Fees
and Costs. According to the stipulation, respondent does not object to a total award of attorneys’
fees and costs in the amount of $46,000.00. In accordance with General Order #9, petitioner
filed a statement stating that she incurred no out-of-pocket expenses in pursuing her petition.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of petitioner’s request and respondent’s counsel’s
lack of objection to petitioner’s counsel’s fee request, the undersigned GRANTS petitioner’s
motion for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

           in the form of a check jointly payable to petitioner and Michael A. Baseluos in the
           amount of $46,000.00.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

        IT IS SO ORDERED.

                                              s/Nora Beth Dorsey
                                              Nora Beth Dorsey
                                              Chief Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
                                                2
